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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
                              BOSTON DIVISION



 STUDENTS FOR FAIR ADMISSIONS, INC.,

                           Plaintiff,

              v.                           Civil Action No. 1:14-cv-14176-ADB

 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE (HARVARD CORPORATION),

                           Defendant.




                      BRIEF OF PROFESSORS OF ECONOMICS
                   AS AMICI CURIAE IN SUPPORT OF DEFENDANT




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August 30, 2018
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                               INTEREST OF AMICI CURIAE 1

       Amici — Professor Susan Dynarski, Professor Harry Holzer, Professor Hilary Hoynes,

Professor Guido W. Imbens, Professor Alan B. Krueger, Professor Helen F. Ladd, Professor

David S. Lee, Professor Trevon D. Logan, Professor Alexandre Mas, Professor Michael

McPherson, Professor Jesse Rothstein, Professor Cecilia Rouse, Professor Robert M. Solow,

Professor Lowell J. Taylor, Professor Sarah Turner, and Professor Douglas Webber — are

leading economists and statisticians who regularly use and teach statistical analytical methods,

including those used by Plaintiff ’s expert, Dr. Peter S. Arcidiacono, and Defendant’s expert, Dr.

David Card, in this case. Amici include, among others, a Nobel laureate, four former Chief

Economists of federal agencies, current and former university administrators, editors of

peer-reviewed journals, and multiple professors whose research focuses on higher education.

Amici have a wide range of views about the appropriateness of using race as a factor in college

admissions. However, they share the view that Dr. Card is one of the most outstanding and

respected scholars in the field of econometrics and applied economics, that his statistical

analyses in this case were methodologically sound, and that the criticisms of his modeling

approach in the Brief of Economists as Amici Curiae in Support of Plaintiff, Dkt. 450

(“Plaintiff ’s Amici Br.”), are not based on sound statistical principles or practices. Biographies

of amici are summarized in Appendix A to this brief.




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         Counsel for amici curiae state that (1) this brief was written by counsel for amici curiae
and not by counsel for any party, in whole or in part; (2) no party or counsel for any party
contributed money that was intended to fund preparing or submitting the brief; and (3) apart
from amici curiae and their counsel, no person contributed money that was intended to fund
preparing or submitting the brief. By Order dated July 24, 2018 (Dkt. 432), this Court granted
amici curiae leave to file this brief.
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                                 SUMMARY OF ARGUMENT

       Plaintiff ’s expert, Dr. Peter S. Arcidiacono, and Defendant’s expert, Dr. David Card, both

apply regression analysis as a statistical method to examine whether there is evidence of racial

bias in Harvard’s admissions process. Plaintiff ’s amici criticize Dr. Card for certain decisions he

made in designing his regression model. Based on their collective decades of training and

experience in statistical methods, amici are unanimous in their view that the criticisms by

Plaintiff ’s amici are unfounded and that Dr. Card’s model relies on reasonable and accepted

statistical methods.

       Plaintiff ’s amici offer three principal criticisms of Dr. Card’s statistical modeling

approach: (1) he did not carve out from the population so-called ALDC applicants (athletes

recruited by Harvard’s athletic teams, Harvard alumni’s children, applicants on a Dean’s or

Director’s Interest List, and faculty/staff ’s children); (2) he did not exclude applicants’ personal

ratings as a control variable; and (3) he did not include a race-disadvantaged status interaction

variable. These criticisms do not undermine the reliability of Dr. Card’s analysis, for two

reasons. First, Dr. Card’s selection of the population and control variables was in accordance

with accepted principles of statistical analysis. If ALDC applicants competed for admission

within the same applicant pool as other applicants in a given year — which Dr. Card noted that

they did2 — then it would be well-justified to include them in the population under study. It is

appropriate to include personal ratings as a control variable unless there is any persuasive reason

to exclude them — none of which Dr. Card found after considering and rejecting the reasons




       2
         Other record evidence supports Dr. Card’s observation. See, e.g., Declaration of Robin
Worth ¶ 6, Dkt. 438-52 (sworn statement by Harvard admissions officer that “Harvard has no
separate admissions track for any category of applicants. All applicants compete against each
other for admission in the same admissions process.”).


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proposed by Dr. Arcidiacono — because they were part of Harvard’s evaluation of each

applicant’s qualitative, non-academic characteristics. And it was appropriate to exclude a race-

disadvantaged status interaction variable because there was no persuasive reason to include it.

Second, and equally importantly, even if Plaintiff ’s amici’s criticisms were methodologically

well-founded (which they are not), Dr. Card performed alternative statistical analyses that

demonstrated that none of the changes Plaintiff ’s amici claim he should have made would have

changed his findings. For example, Dr. Card’s substantive conclusions remain generally

unchanged even if the personal ratings are excluded from his regression model. These

alternative analyses — which Plaintiff ’s amici ignore — demonstrate that the methodological

criticisms offered by Plaintiff ’s amici are not only unpersuasive but also immaterial.

                                         BACKGROUND

I.     Basic Principles Of Regression Analysis

       Regression analysis is a statistical tool that statisticians, economists, and many other

researchers use to examine relationships between multiple variables. In general terms, regression

analysis can show the association between any included variable and an outcome when holding

all other included variables constant.

       A well-designed statistical model should reflect as closely as practical the population of

interest, and the outcome and control variables should depend on the question being investigated.

In this case, admission to Harvard is the outcome variable of interest. To test whether racial

discrimination exists, in addition to the race indicators, the control variables that are included in

the regression model should be those that raise or lower the likelihood of admission, but are not

themselves influenced by the alleged discrimination.

       To illustrate these principles, consider, for example, a car dealership that wishes to do an

analysis of factors impacting the number of sales the dealership makes per month, including the


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effectiveness of monthly sales promotions it offers. The population in this model should be all

car sales made in a given time period. That population would include, for example, both

financed and cash purchases, because the dealership employs one marketing process regardless

of whether a buyer intends to finance their purchase. Similarly, if the same sales promotions

apply to retail and enterprise purchases, then both types of purchases would naturally be included

in the population for the model, even though those transaction types may have substantially

different profiles.

        After identifying the relevant population, the expert must then identify the variables that

are related to the variable of interest and are expected to correlate with the outcome. By

controlling for these variables, the regression model will remove from the raw correlation

between the variable of interest and the outcome the part of that correlation attributable to the

control variables. Returning to the car dealership, for instance, the analysis should include as a

variable which promotion the dealership was offering during the month, if any, because the

dealership wishes to learn how effective its promotions are and because they can reasonably be

expected to affect sales. But the model should also include other variables that can also

influence the dealership’s sales and the decision to offer the promotions. As an example, these

variables could include measures of the strength of the economy in the local area each month,

such as unemployment rates, as more people may be willing and able to buy cars when the

economy is doing well (and the dealership may be less inclined to offer promotions at that time).

Similarly, the model could include whether competitors are offering promotions, as those could

lead the dealership to offer promotions of its own to keep up and could lessen the effectiveness

of the dealership’s promotions by drawing away potential customers.




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       Failing to include a significant explanatory variable that correlates with the outcome and

is related to the variable of interest will lead to misleading inferences from the data. For

example, in the car sales illustration, suppose that the model failed to include variables

measuring the local economy, such as the unemployment rate. A regression model might show

that promotions actually had a negative impact on car sales but, in reality, both the decline in

sales and the dealership’s decision to hold a promotion were caused by increases in the local

unemployment rate. In this example, the model’s results would be misleading due to the omitted

variable, which provides at least a portion of the actual explanation for why sales declined. This

statistical problem is known as “omitted variable bias.”

       In evaluating a regression analysis, two additional principles help guard against biased

estimation. First, would a researcher accept the arguments underlying the regression specification

(i.e., selection of variables) without having seen the results first? If the arguments depend on the

specifics of what was observed in the data, they may reflect ex post rationalization of the model

rather than a sound and principled prior decision. In the car dealership example, excluding cash

purchases from the population because they show much less variation on a month-to-month basis

than financed purchases may be such an ex post rationalization; there is no a priori reason to take

this approach, and it becomes evident only after looking at the data. Second, are the arguments

about methodology applied consistently to all aspects of the data? Again in the dealership

example, if one strongly believes in controlling for the extent to which other competitors are

advertising, it would be unclear why one would include control variables for competitors’ radio

ads but ignore their television ads, absent some compelling a priori explanation for treating these

two forms of advertising differently. A well-designed regression analysis should satisfy both of

these principles.




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II.    The Experts’ Regression Analyses In This Litigation

       Plaintiff claims that Harvard’s undergraduate admissions decisions exhibit bias against

Asian American applicants. Plaintiff ’s expert, Dr. Arcidiacono, concluded that there is statistical

evidence in support of Plaintiff ’s claims. Harvard asked Dr. Card to assess whether Dr.

Arcidiacono’s statistical analyses are reliable. Based on his review of the record on Harvard’s

admissions process and his analyses of admissions data, Dr. Card concluded that they are not.

Dr. Card concluded that Dr. Arcidiacono’s regression models mistakenly focused on applicants’

GPAs and ACT/SAT scores (“academic factors”) to the exclusion of other pertinent information

about applicants — for example, four of Dr. Arcidiacono’s models did not include applicants’

subscores for extracurricular, personal, and athletic factors. See Report of David Card, Dkt. 419-

33 at 7, ¶¶ 12-13 (“Card Rep.”). Given the abundant number of applicants with stellar academic

records in Harvard’s applicant pool, Harvard sought to admit students who exhibit excellence in

a variety of forms — both academic and non-academic. See id. at 6-7, 16-23, ¶¶ 11, 33-44. By

excluding information about applicants’ non-academic achievements, such as the “personal

ratings” and other non-academic variables, Dr. Arcidiacono chose to largely disregard the

differences in applicants’ life experiences, backgrounds, skills, and career interests, all of which

Harvard considered in making admissions decisions. See id. at 7-8, 40-45, ¶¶ 13-16, 79-90.

       In his own analysis, Dr. Card found no statistically significant evidence supporting the

conclusion that Harvard’s admissions process was biased against Asian American applicants.

Through his own regression models, Dr. Card analyzed the difference in admissions rates between

Asian American applicants and others if all other observed factors included in the regression

model were equal. Dr. Card controlled not only for applicants’ academic, extracurricular, and

athletic qualities (factors for which both Dr. Card and Dr. Arcidiacono controlled) but also for

contextual information such as the quality of applicants’ high school and neighborhood and their


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family background (factors for which Dr. Arcidiacono failed to control adequately), among other

things. See id. at 46-50, ¶¶ 95-100 & Ex. 14. Dr. Card’s analysis showed that these non-

academic factors accounted for the racial disparities in admissions rates that Dr. Arcidiacono

attributed to bias against Asian American applicants. See id. at 62-72, ¶¶ 128-153. Due to the

complexity of Harvard’s admissions process, Dr. Card could not control for all non-academic

factors that Harvard considered. See id. at 8-9, ¶ 18. Some factors were not individually

quantified in Harvard’s database, such as the content of an applicant’s personal essay and

recommendation letters. Dr. Card thus noted that these missing data, not the alleged bias against

Asian American applicants, likely explain any remaining racial disparities. See id. at 70-71,

¶¶ 147-148.

       Plaintiff ’s amici subsequently filed a brief in support of Plaintiff ’s motion for summary

judgment, in which they criticized Dr. Card’s methodology. Amici here respond to those

criticisms.

                                          ARGUMENT

I.     THE CRITICISMS OF DR. CARD’S DEFINITION OF THE POPULATION OF
       INTEREST ARE UNFOUNDED

       Dr. Card’s statistical model defined the population of interest to include all applicants

who competed for admission in a given year through the same evaluation process. As discussed

above, in conducting a regression analysis, absent any strong a priori reason to treat certain

subgroups differently, the most natural, relevant, and transparent population to analyze is all of

the applicants affected within the same admissions cycle. Harvard is choosing a single

undergraduate class of students, one year at a time. Plaintiff ’s amici criticize Dr. Card’s

analyses as unreliable on the grounds (at 3 n.2) that Dr. Card did not “pool” applicants across

different admissions cycles and (at 16-18) that he did not exclude from the population a specific


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subset of applicants. For the reasons explained below, those criticisms are ad hoc and do not

follow from a modeling approach that seeks to be transparent or representative.

       A.      Dr. Card’s Decision Not To “Pool” Applicants Across Six Years Has Strong
               Justification

       It was well-justified not to “pool” applicants across multiple years because Harvard runs

its admissions process on an annual cycle with a new committee deciding admissions each year

(meaning the standards for scores and ratings may shift from year to year), the features of the

applicant pool may change from year to year, and admissions decisions in one year are

independent of those in others. See Card Rep. at 51, ¶ 103. An applicant for the class of 2017

does not compete for admission with an applicant for the class of 2011. To take one example

of these considerations, Harvard has seen an increase over time in the number of applicants

interested in pursuing computer science; if Harvard wished to maintain a roughly constant

proportion of students in each field, then it would be “harder” for an applicant interested in

computer science to gain admission in 2017 than in 2011, holding all else equal. See id. at

52-53, ¶ 105 & Ex. 15. Dr. Card’s decision not to pool applicant data across years in the way

Dr. Arcidiacono did was scientifically sound and supported by strong a priori justifications.3


       3
         Dr. Arcidiacono’s original report did not provide an explanation for his decision to pool
data across years. In his rebuttal report, Dr. Arcidiacono advanced two arguments, both of which
are scientifically unsound. First, he argued that not “all” applicants within each year are
compared to one another, such as the plainly unfit candidates whose applicants are rejected
without a second review. See Rebuttal Expert Report of Peter S. Arcidiacono at 34, Dkt. 415-2
(“Arcidiacono Rebuttal Rep.”). But that is a red herring. The fact that some applicants are
rejected out of hand does not mean that applicants are ever compared across multiple years. Dr.
Arcidiacono’s model does not reflect the independence of the admissions committee’s decisions
from different years. Second, he argued that the larger population size in the pooled model gives
it more statistical power. Id. at 34-35. But Dr. Card demonstrated that his year-by-year analysis
and averaging yearly results across six admissions cycles actually has greater statistical power
than Dr. Arcidiacono’s pooled approach. See Rebuttal Report of David Card at 44-45, ¶ 82 &
Ex. 10, Dkt. 419-37 (“Card Rebuttal Rep.”). In fact, Dr. Card’s preferred year-by-year analysis
found that the effect of Asian American ethnicity was not statistically significant in any one year



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       B.      Dr. Card’s Decision To Include In His Analyses All Applicants Who
               Competed For Admission In A Given Year Was Well-Founded

       As discussed above, it is appropriate to include all applicants who were subject to the

admissions process in order to measure the impact of a particular variable (here, race) on

admissions decisions. Plaintiff ’s amici argue (at 16-18) that Dr. Card’s inclusion of ALDC

applicants was inappropriate because they are admitted at higher rates than other applicants.4

But that is not a valid basis for excluding these applicants, and Plaintiff ’s amici’s reliance on

features observed from the data raises questions as to whether there was a valid a priori rationale

for this exclusion.

       To answer the question, “Considering all applicants to Harvard and controlling for other

factors we observe that are important for admissions decisions, are there significant differences

in admissions rates between different demographic groups?,” the analysis should include all

applicants. Importantly, that is a different question from, “Setting aside certain select subgroups

of applicants to Harvard and controlling for other factors we observe that are important for

admissions decisions, are there significant differences in admissions rates between different

demographic groups?” For this latter question, it would be natural to exclude those select

subgroups from the analysis; but that does not appear to be the question at issue here. Because

Harvard takes into account more criteria than just narrow measures of academic achievement in

its admissions process, it is inappropriate to systematically exclude from the analysis groups of



or across all six on average, and that in four of six years the effect of Asian American ethnicity
was positive (i.e., correlated with higher chances of admission). See Card Rep. at 8, ¶ 17.
       4
         Among other things, Plaintiff ’s amici cite (at 18) the “Chow test” and argue that Dr.
Card fails to meet the Chow test’s burdens. This is a non sequitur. The Chow test can be used to
evaluate whether variables affect two sub-populations in a single model differently, but it is not a
prerequisite for determining whether to include both sub-populations in a model in the first
place.



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applicants who have outstanding non-academic attributes in addition to their academic

achievements (i.e., ALDC applicants).

       It is notable that, in at least one of his prior studies, Dr. Arcidiacono took the same

approach as Dr. Card — namely, including special category applicants like legacies — when

statistically analyzing racial preferences in college admissions process.5 Dr. Arcidiacono does

not explain why he departed from his prior methodology in this case, and the departure is

important here because the exclusion of ALDC applicants was material to Dr. Arcidiacono’s

conclusion that Harvard’s admissions process exhibited racial disparities. See Expert Report of

Peter S. Arcidiacono at 21-22, 61, Dkt. 415-1 (“Arcidiacono Rep.”).

       C.      Plaintiff ’s Amici Ignore Dr. Card’s Alternative Analyses, Which Show That
               Dr. Arcidiacono’s Criticisms Do Not Affect His Conclusions

       It is important to highlight that Dr. Card performed a sensitivity analysis to examine

whether his findings meaningfully change if the admissions data are pooled across the years.

Dr. Card found no meaningful differences. See Card Rep. at 48 n.84. He also completed a

sensitivity analysis showing that his findings do not change even if his models allowed race to

have a different effect for the ALDC applicants, compared to the rest of the applicant pool. See

Card Rebuttal Rep. at 55-56, ¶ 107 & Ex. 14. Dr. Arcidiacono himself acknowledges that adding

an interaction variable between race and the ALDC status would resolve his concerns relating to

the inclusion of the ALDC students in the population. See Arcidiacono Rebuttal Rep. at 36.

These alternative analyses — which Plaintiff ’s amici ignore — demonstrate that Plaintiff ’s




       5
          See Peter Arcidiacono et al., Representation Versus Assimilation: How Do Preferences
in College Admissions Affect Social Interactions?, 95 J. Pub. Econ. 1, 5 & n.19 (2011) (analyzing
racial preferences in the undergraduate admissions process), available at
https://www.sciencedirect.com/science/article/abs/pii/S0047272710001465.


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amici’s criticisms of Dr. Card’s treatment of the population not only lack merit but also are

immaterial.

II.    THE CRITICISMS OF DR. CARD’S SELECTION OF VARIABLES ARE
       UNFOUNDED

       Dr. Card’s selection of the control variables for regression models was well-founded

given the undisputed facts regarding Harvard’s admissions process. Plaintiff ’s amici criticize (at

3-13) Dr. Card’s decision to include the “personal ratings” as a control variable and his decision

not to add an interaction variable between race and disadvantaged status. Their criticisms again

lack merit, because the personal ratings were a critical non-academic factor that Harvard

considered in evaluating an applicant’s qualifications and were not captured by any of the other

variables in the model. Dr. Arcidiacono offered no persuasive reason for excluding the variable

from regression models. His claim that the personal ratings were tainted with racial bias lacks

credible evidence to support it. Likewise, there was no compelling reason for adding an

interaction variable to allow the effect of disadvantaged status to vary on the basis of race.

       A.      Dr. Card’s Decision To Include The Personal Ratings Has Strong
               Justifications

       The most transparent approach to the regression analysis would be to include all variables

that are known to be used in the actual decision-making process, as long as they are not tainted

by discrimination. The failure to include appropriate explanatory variables may produce

unreliable results. In particular, failure to control for real factors that Harvard considered in

making admissions decisions and that are correlated with race, such as non-academic skills,

would lead to unreliable estimates about the effects of race in the admissions process. An

available explanatory variable should be excluded only when there is a compelling a priori

explanation for excluding it, such as if it is clear that the proposed explanatory variable had no

independent effect on the outcome and on the variable of interest, or if the values of the variable


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were assigned on the basis of race. For example, while Harvard’s admissions database may

include a street number for every applicant’s address, there is clearly no relationship between the

street number and admissions (all else equal, an applicant living at house number 101 would not

have any better or worse odds than an applicant living at house number 999), so it makes sense

not to include the street number as a variable in the regression model.6 There is no compelling

evidence here that the personal ratings were assigned on the basis of race, and thus no

compelling reason to exclude them from the model.

       Dr. Card’s modeling was consistent with these fundamental modeling principles. Dr.

Card included in his regression models all measurable factors that Harvard actually considered

and recorded in its database, except one (described below). By including this broad range of

variables, Dr. Card’s model incorporates information that Harvard considered in making

admissions decisions, such as personal essays and recommendation letters.

       The one factor Dr. Card excluded was Harvard’s “overall ratings” for its applicants, and

he provided a compelling reason to exclude the overall ratings. As Dr. Card noted, among many

numerical ratings Harvard assigned to applicants, the record suggests that admissions officers

may consider race in assigning applicants’ “overall ratings.” Card Rep. at 10, ¶ 21. For

example, the overall ratings for African American applications tended to “reflect the contribution

they would make to the racial diversity of the student body.” Id. at 73, ¶ 154. Given that

evidence, it was appropriate to exclude overall ratings from the model.

       There was no similarly compelling reason to exclude personal ratings. Dr. Arcidiacono

did not identify any a priori qualitative evidence that admissions officers consider an applicant’s



       6
          This is not to say that information about an applicant’s location should be excluded;
rather, the applicant’s address may well convey relevant information about the applicant, such as
whether they live in an urban or rural area.


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race in assigning personal ratings. And based on his review of the record on Harvard’s

admissions process, deposition testimony, and admissions data, Dr. Card found that the personal

ratings incorporated critical data on an applicant’s non-academic qualities that were not captured

by any other factors. See id. at 9-10, ¶ 21. Those personal qualities included, among other

things, an applicant’s “economic resources and family hardship, personal essays and interviews,

artistic qualities, maturity and ability to balance multiple commitments, and the degree of

parental involvement.” Id. at 20, ¶ 40. These factors are often referred to in the economics

literature as “non-cognitive factors,” and they are inherently hard to quantify. To measure them,

Harvard employed a “labor intensive,” “rigorous comparative process.” Id. at 25, ¶ 50. The

personal ratings were the numerical output of that process. Thus, Dr. Card’s decision not to

disregard those ratings had strong a priori justifications.

        In contrast to Dr. Card’s inclusive approach, Dr. Arcidiacono excluded the personal

ratings based on the assertion that they are tainted with Harvard’s bias against Asian American

applicants. See Arcidiacono Rep. at 55. However, Dr. Arcidiacono has not offered any

persuasive evidence that is capable of showing reliably that the racial disparities found in the

personal ratings are the result of racial bias.

        Dr. Arcidiacono’s regression model omits the important factors that are captured by the

personal ratings. His model included no adequate control variables regarding the content of

personal essays and recommendation letters, among other missing data, even though these were

considered by Harvard in the admissions process. See Card Rebuttal Rep. at 4-5, 21 ¶¶ 7, 40. As

a result, his model ignored the differences in what applicants wrote in their personal essays and

what other people wrote about them. If the content of such recommendation letters or other

materials was tainted by racial bias, one could argue that the personal ratings should be excluded




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on that basis, but no compelling evidence of such bias has been presented here. Failing to

include a significant explanatory variable like the personal ratings may cause race to be credited

with an effect that actually is caused by the excluded variable. Because they omit the important

personal ratings variable, Dr. Arcidiacono’s regression models and findings may well suffer from

this defect. Indeed, by excluding the personal ratings variable, Dr. Arcidiacono’s models rely on

an unsupported, implicit assertion that key admissions factors such as essays and

recommendation letters, which are not otherwise captured in his models, are not legitimately

considered in an admissions process.

       The flaws in Dr. Arcidiacono’s models are also evident from his regression models for

the “academic rating” and “extracurricular rating.” Those models indicate that, holding all other

factors in the models equal, Asian American applicants receive higher academic and

extracurricular ratings — in other words, that there is a bias in favor of Asian American

applicants. See Card Rep. at 71, ¶ 149. Dr. Arcidiacono’s findings are implausible, because they

would indicate that Harvard discriminates against Asian American applicants on one subscore

only to turn around and discriminate in their favor on two others. The better and more plausible

explanation of these findings is that Dr. Arcidiacono’s regression models are simply not reliable

enough to measure all the applicant qualities that drive Harvard’s assignment of these ratings.

See id. at 9, ¶ 20. For example, an applicant’s essay and recommendation letters may indicate

strengths that are captured in the academic and extracurricular scores, just as they may indicate

weaknesses captured in the personal scores; in either case, any disparities cannot be attributed to

bias because these strengths and weaknesses are not controlled for directly. Dr. Arcidiacono

agrees that his findings of racial disparities in the academic and extracurricular ratings are




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attributable to missing, unobservable data, not to a racial bias. See Arcidiacono Rebuttal Rep. at

25-26; Card Rebuttal Rep. at 5, 22, ¶¶ 8, 42.

        Plaintiff ’s amici argue (at 12-13) that “[i]t makes sense to infer that missing data may

explain the gap favoring Asian Americans in the academic and extracurricular rating scores

relative to their test scores, because Asian Americans objectively outperform all other applicants

in academic and extracurricular measures,” but “[i]t does not make sense to infer that missing

data explains away the much starker disparity, disfavoring Asian Americans, in the subjective

personal rating scores, because no observable data justifies that inference.” But, contrary to that

unsubstantiated assertion, Dr. Card has provided observable data that justify his inference in

multiple respects. First, Dr. Card showed that, on average, Asian American applicants are less

likely than white applicants to receive strong scores collectively across the teacher and guidance

counselor ratings, two factors that inform the personal ratings. See Card Rebuttal Rep. at 25,

¶¶ 47-48 & Ex. 4. Second, Dr. Card used Dr. Arcidiacono’s “non-academic admissions index”

— which summarizes an applicant’s strength across all non-academic factors — to show that

Asian American applicants are less likely than white applicants to be in the top deciles of the

index, suggesting that white applicants may objectively outperform Asian American applicants

in non-academic measures. See id. at 30, ¶ 53 & Ex. 8. Third, Dr. Arcidiacono’s own regression

models show that, as he adds more non-academic factors, the racial disparities shrink. See id. at

23-25, ¶ 46. That effect suggests that omitted variables, not racial bias, may explain the racial

disparities.

        Other reasons that Dr. Arcidiacono relies on to argue that the personal ratings are biased

are also flawed. In particular, Dr. Arcidiacono relies on alumni ratings to argue that the personal

ratings are biased, contending that “there is a stark divergence between the alumni personal




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ratings and the personal ratings assigned by Harvard’s admissions office that is indicative of a

penalty against Asian-American applicants in the scoring of the personal ratings.” Arcidiacono

Rep. at 50. That argument is unconvincing. Not only do alumni rate Asian American applicants

lower than applicants of other races on personal ratings in 9 out of 10 academic deciles (all but

the bottom 10%),7 but they also rely on a much narrower set of information compared to the

admissions officers. See Card Rep. at 74, ¶ 156 (“An alumni personal rating reflects only the

alumni interviewer’s brief interaction with the applicant, whereas the personal rating assigned by

Harvard admissions officers considers not just the alumni interview . . . but also the candidate’s

essays, teacher recommendations, secondary school report, and so on.”). Moreover, Dr. Card

demonstrated, using Dr. Arcidiacono’s econometric specification, that the distribution of Asian

American applicants in non-academic measures is shifted lower compared to that of white

applicants (i.e., that “Asian-American applicants are more likely . . . to have weaker non-

academic qualifications” than white applicants) and that this finding holds “even if personal

ratings . . . are excluded from the non-academic qualifications.” Id. at 38, ¶ 76.

       B.      Dr. Card’s Decision Not To Include The Race-Disadvantaged Status
               Interaction Variable Was Well-Founded

       Plaintiff ’s amici (at 14-16) criticize Dr. Card’s analyses for not including an interaction

variable between an applicant’s “disadvantaged status” and race. This criticism also lacks merit.

       Interaction variables are designed to allow the effect of one variable to vary by another

variable. Because the number of possible interaction variables is virtually unlimited and adding

interaction variables necessitates a greater sample size to obtain reliable results, sound modeling

principles require a process for deciding which interaction variables are appropriate to include



       7
         Dr. Arcidiacono himself admits that “there is some racial disparity in the alumni
personal rating.” Arcidiacono Rep. at 50.


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while others are not. By default, interaction variables are not included, and an analyst should

include only those interactions for which there is a principled reason to expect a meaningful

interaction effect. For example, if examining admissions criteria for a university with a major

outreach program for disadvantaged students in the local area near the university, it may be

reasonable to include a location-disadvantaged status interaction variable on the theory that the

university offers admissions advantages to local disadvantaged students that differ from those of

local students and of disadvantaged students more generally. There would be no reason, on the

other hand, to include any number of other interaction variables in this example, such as

location-race or gender-disadvantaged status, because there are no similar principled reasons to

expect other interactions.8

       Dr. Arcidiacono does not appear to have articulated a defensible process for deciding

which interaction variables to include. The reason given in his report for including the race-

disadvantaged status interaction variable was that he observed from the data analysis that the

relationship between disadvantaged status and admissions rates was not identical across races.

See Arcidiacono Rep. at 64 (observing differences). Dr. Arcidiacono asserts that the

disadvantaged status gave virtually no significant benefit to African American and Hispanic

applicants because they were already given strong preferences. See id. at 34 & n.43. But, as




       8
          There are two main reasons that this is an important best practice for researchers. First,
interaction terms can require significantly greater sample sizes to yield precise results; there is no
way, however, to increase the sample size in Harvard’s data pool, because a fixed number of
students applied for admission to Harvard each year. Second, the nature of any statistical testing
is that there will necessarily be false positives. At the conventional 95% level of statistical
significance, we would expect to find one false positive (a statistically significant relationship
between two variables even though in truth there is no connection) for every 20 relationships we
examine. If an analyst includes many interactions between variables without any discipline or
rules in selecting which interactions to include in the model, some are bound to be significant
just by chance, but these are false positives.


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noted above, explanations that depend on the contents of the data are disfavored because they

may be ex post rationalizations, and neither Dr. Arcidiacono nor Plaintiff ’s amici have provided

any a priori rationale for this treatment. The absence of such an explanation creates a significant

risk that Dr. Arcidiacono’s decision to include the race-disadvantaged status interaction variable

may have been driven by its outcome, rather than an outcome of a rigorous process for selecting

interaction variables to include out of a virtually unlimited number of possible interaction

variables. His report did not provide the principled justification that sound statistical

methodology requires.

       C.      Plaintiff ’s Amici Ignore Dr. Card’s Alternative Analyses, Which Show That
               Dr. Arcidiacono’s Criticisms Do Not Affect His Conclusions

       Even if Plaintiff ’s amici’s criticisms had any merit, Dr. Card’s alternative analyses

showed that his findings remain unaffected.

       With respect to the personal ratings, Dr. Card completed two alternative analyses, in

which he assumed that the personal ratings might have been influenced by applicants’ race. In

the first alternative analysis, Dr. Card removed the personal ratings from his models entirely

(thereby ignoring an important part of Harvard’s admissions process as discussed above). In five

out of six years, Dr. Card found no statistical evidence of bias against Asian American

applicants. See Card Rep. at 71-72, ¶ 152 & Ex. 21. In the second alternative analysis, Dr. Card

statistically adjusted academic, extracurricular, and personal ratings to eliminate the alleged

racial bias as reported by Dr. Arcidiacono. Dr. Card found no statistical evidence of bias against

Asian American applicants in any of the six years or in the average across all six years. See Card

Rebuttal Rep. at 33-34, ¶ 57 & Ex. 9. Plaintiff ’s amici flatly ignore the results of these

alternative analyses.




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       Dr. Card also completed an alternative analysis to evaluate whether including the race-

disadvantaged status interaction variable would impact his findings. In that alternative analysis,

Dr. Card allowed the effect of disadvantaged status to vary by race, precisely what Plaintiff ’s

amici claim (at 15-16) Dr. Card failed to do. See Card Rebuttal Rep. at 56-57, ¶ 108 & Ex. 15.

Nonetheless, Dr. Card found no statistical evidence of bias against Asian American applicants.

Plaintiff ’s amici simply ignore these alternative analyses and findings.

                                         CONCLUSION

       For the foregoing reasons, amici believe that the criticisms put forward by Plaintiff ’s

amici are unpersuasive, and Dr. Card’s methodology is reasonable and consistent with a

transparent and principled approach as to each of these disputed points.



                                                      Respectfully submitted,

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August 30, 2018




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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on August 30, 2018, I caused the foregoing brief to be filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be

sent to all registered ECF participants as identified on the Notice of Electronic Filing.



                                                   /s/ Derek T. Ho
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                                           Appendix A1

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schooling, class size, and high school reforms on academic achievement and educational
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views or the endorsements of the institutions.

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specializes in the study of poverty, inequality, food and nutrition programs, and the impacts of
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Economic Advisers in 1961-62 and was a consultant to that body from 1962 to 1968. In the
1950s, Dr. Solow developed a mathematical model illustrating how various factors can
contribute to sustained national economic growth. Contrary to traditional economic thinking, he
showed that advances in the rate of technological progress do more to boost economic growth
than do capital accumulation and labour increases. In his 1957 article “Technical Change and
the Aggregate Production Function,” Dr. Solow observed that about half of economic growth
cannot be accounted for by increases in capital and labour. He attributed this unaccounted-for
portion—now called the “Solow residual”—to technological innovation. From the 1960s on,
Dr. Solow’s studies helped persuade governments to channel their funds into technological
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